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 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9

10 JIAN ZHOU, Individually and on               Case No.
     Behalf of All Others Similarly Situated,
11                                              CLASS ACTION COMPLAINT
                        Plaintiff,              FOR VIOLATIONS OF THE
12                                              FEDERAL SECURITIES LAWS
                 v.
13
     FARADAY FUTURE INTELLIGENT                 DEMAND FOR JURY TRIAL
14 ELECTRIC INC. f/k/a PROPERTY
     SOLUTIONS ACQUISITION CORP.,
15 CARSTEN BREITFELD, ZVI
     GLASMAN, WALTER J. MCBRIDE,
16 JORDAN VOGEL, AARON
     FELDMAN, and YUETING JIA,
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                        Defendants.
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 1        Plaintiff Jian Zhou (“Plaintiff”), individually and on behalf of all others
 2 similarly situated, by and through his attorneys, alleges the following upon

 3 information and belief, except as to those allegations concerning Plaintiff, which are

 4 alleged upon personal knowledge. Plaintiff’s information and belief is based upon,

 5 among other things, his counsel’s investigation, which includes without limitation:

 6 (a) review and analysis of regulatory filings made by Faraday Future Intelligent

 7 Electric Inc. (“Faraday Future,” “FF,” or the “Company”) f/k/a Property Solutions

 8 Acquisition Corp. (“PSAC”) with the United States (“U.S.”) Securities and

 9 Exchange Commission (“SEC”); (b) review and analysis of press releases and media

10 reports issued by and disseminated by Faraday Future; and (c) review of other

11 publicly available information concerning Faraday Future.

12                  NATURE OF THE ACTION AND OVERVIEW
13        1.     This is a class action on behalf of persons and entities that purchased or
14 otherwise acquired Faraday Future securities between January 28, 2021 and

15 November 15, 2021, inclusive (the “Class Period”). Plaintiff pursues claims against

16 the Defendants under the Securities Exchange Act of 1934 (the “Exchange Act”).

17        2.     Faraday Future claims it designs and engineers next-generation smart
18 electric connected vehicles.

19        3.     PSAC was a special purpose acquisition company formed for the
20 purpose of effecting a merger, capital stock exchange, asset acquisition, stock

21 purchase, reorganization, or similar business combination with one or more

22 businesses.

23        4.     On January 28, 2021, PSAC and FF Intelligent Mobility Global
24 Holdings Ltd. (“Legacy FF”) announced that PSAC and Legacy FF entered into a

25 definitive agreement for a business combination, and that the combined company

26 would be renamed Faraday Future (the “Business Combination”).

27        5.     On July 21, 2021, Faraday Future announced that it had completed the
28 Business Combination and that its common stock and warrants would commence

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 1 trading on the NASDAQ on July 22, 2021 under the ticker symbols “FFIE” and

 2 “FFIEW”, respectively.

 3        6.     On October 7, 2021, J Capital Research published a report alleging,
 4 among other things, that Faraday Future was unlikely to ever sell a car, noting that

 5 after eight years in business, the Company has “failed to deliver a car,” “has reneged

 6 on promises to build factories in five localities in the U.S. and China,” “is being

 7 sued by dozens of unpaid suppliers,” and “has failed to disclose that assets in China

 8 have been frozen by courts.” Moreover, the report alleged that Faraday Future’s

 9 claimed 14,000 deposits are fabricated because 78% of these reservations were

10 made by a single undisclosed company that is likely an affiliate. The report further

11 alleges that contrary to representations of progress toward manufacturing made by

12 Faraday Future in September 2021, former engineering executives did not believe

13 that the car was ready for production.

14        7.     On this news, the Company’s share price fell $0.35 per share, or more
15 than 4%, to close at $8.05 per share on October 8, 2021.

16        8.     On November 15, 2021, Faraday Future announced that it would be
17 unable to file its Form 10-Q for the fiscal quarter ended September 30, 2021 on

18 time. Faraday Future further announced that its board of directors “formed a special

19 committee of independent directors to review allegations of inaccurate disclosures,”

20 including the claims in the J Capital report.

21        9.     On this news, the Company’s share price fell $0.28 per share, or
22 approximately 3%, to close at $8.83 per share on November 16, 2021.

23        10.    Throughout the Class Period, Defendants made materially false and/or
24 misleading statements, as well as failed to disclose material adverse facts about the

25 Company’s business, operations, and prospects. Specifically, Defendants failed to

26 disclose to investors: (1) that the Company had assets in China frozen by courts, (2)

27 that a significant percentage of its deposits for future deliveries were attributable to

28 a single undisclosed affiliate; (3) that the Company’s cars were not as close to

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 1 production as the Company claimed; (4) that, as a result of previously issued

 2 statements that were misleading and/or inaccurate, Faraday Future could not timely

 3 file its quarterly report; and (5) that, as a result of the foregoing, Defendants’

 4 positive statements about the Company’s business, operations, and prospects were

 5 materially misleading and/or lacked a reasonable basis.

 6          11.   As a result of Defendants’ wrongful acts and omissions, and the
 7 precipitous decline in the market value of the Company’s securities, Plaintiff and

 8 other class members have suffered significant losses and damages.

 9                            JURISDICTION AND VENUE
10          12.   The claims asserted herein arise under Sections 10(b) and 20(a) of the
11 Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

12 thereunder by the SEC (17 C.F.R. § 240.10b-5).

13          13.   This Court has jurisdiction over the subject matter of this action
14 pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. §

15 78aa).

16          14.   Venue is proper in this Judicial District pursuant to 28 U.S.C. §
17 1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts

18 in furtherance of the alleged fraud or the effects of the fraud have occurred in this

19 Judicial District. Many of the acts charged herein, including the dissemination of

20 materially false and/or misleading information, occurred in substantial part in this

21 Judicial District. In addition, the Company’s principal executive offices are located

22 in this District.

23          15.   In connection with the acts, transactions, and conduct alleged herein,
24 Defendants directly and indirectly used the means and instrumentalities of interstate

25 commerce, including the United States mail, interstate telephone communications,

26 and the facilities of a national securities exchange.

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 1                                      PARTIES
 2        16.   Plaintiff Jian Zhou, as set forth in the accompanying certification,
 3 incorporated by reference herein, purchased Faraday Future securities during the

 4 Class Period, and suffered damages as a result of the federal securities law

 5 violations and false and/or misleading statements and/or material omissions alleged

 6 herein.

 7        17.   Defendant Faraday Future is incorporated in Delaware with its
 8 principal executive offices located at 18455 S. Figueroa Street, Gardena, California

 9 90248. Faraday Future’s Class A common stock trades on the NASDAQ under the

10 symbol “FFIE” and its Redeemable warrants, exercisable for shares of Class A

11 common stock at an exercise price of $11.50 per share, trade under the symbol

12 “FFIEW.” Prior to the Business Combination, PSAC’s common stock traded on the

13 NASDAQ exchange under the symbol “PSAC,” and its redeemable warrants,

14 exercisable for shares of common stock at an exercise price of $11.50 per share,

15 traded under the symbol “PSACW.”

16        18.   Defendant Carsten Breitfeld (“Breitfeld”) was the Chief Executive
17 Officer (“CEO”) of Legacy FF prior to the Business Combination, and the CEO of

18 Faraday Future after the Business Combination.

19        19.   Defendant Zvi Glasman (“Glasman”) was the Chief Financial Officer
20 (“CFO”) of Legacy FF prior to the Business Combination, and the CFO of Faraday

21 Future after the Business Combination until October 27, 2021.

22        20.   Defendant Walter J. McBride (“McBride”) was the CFO of Faraday
23 Future from November 1, 2021 through the end of the Class Period.

24        21.   Defendant Jordan Vogel (“Vogel”) was the Co-CEO of PSAC from its
25 inception until the Business Combination.

26        22.   Defendant Aaron Feldman (“Feldman”) was the Co-CEO and Treasurer
27 of PSAC from its inception until the Business Combination.

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 1        23.    Defendant Yueting Jia (“Jia”) is the Founder of Legacy FF. He served
 2 as Chief Product and User Ecosystem Officer of Legacy FF and retained the

 3 position after the closing of the Business Combination.

 4        24.    Defendants Breitfeld, Glasman, McBride, Vogel, Feldman, and Jia
 5 (collectively the “Individual Defendants”), because of their positions with the

 6 Company, possessed the power and authority to control the contents of the

 7 Company’s reports to the SEC, press releases and presentations to securities

 8 analysts, money and portfolio managers and institutional investors, i.e., the market.

 9 The Individual Defendants were provided with copies of the Company’s reports and

10 press releases alleged herein to be misleading prior to, or shortly after, their issuance

11 and had the ability and opportunity to prevent their issuance or cause them to be

12 corrected. Because of their positions and access to material non-public information

13 available to them, the Individual Defendants knew that the adverse facts specified

14 herein had not been disclosed to, and were being concealed from, the public, and

15 that the positive representations which were being made were then materially false

16 and/or misleading. The Individual Defendants are liable for the false statements

17 pleaded herein.

18                           SUBSTANTIVE ALLEGATIONS
19
                                         Background
20

21        25.    Faraday Future claims it designs and engineers next-generation smart

22 electric connected vehicles.

23        26.    PSAC was a special purpose acquisition company formed for the

24 purpose of effecting a merger, capital stock exchange, asset acquisition, stock

25 purchase, reorganization, or similar business combination with one or more

26 businesses.

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 1                              Materially False and Misleading
                           Statements Issued During the Class Period
 2
              27.   The Class Period begins on January 28, 2021. On that day, PSAC and
 3
     Legacy FF issued a press release titled “Faraday Future to List on NASDAQ
 4
     Through Merger With Property Solutions Acquisition Corp. With Estimated $1
 5
     Billion in Proceeds.” Therein, they announced that PSAC and Legacy FF entered
 6
     into a definitive agreement for a business combination, and that following the
 7
     closing, the combined company will be listed on the NASDAQ. In greater part, they
 8
     stated:1
 9
              This transaction validates FF’s vision to create a mobility ecosystem
10            built upon innovations in technology and products. FF’s flagship
11            product offering will be the FF 91, featuring industry leading 1,050 HP,
              0-60 mph in less than 2.4 seconds, zero gravity seats with the largest
12            60-degree reclining angles and a revolutionary user experience
13            designed to create a mobile, connected, and luxurious third Internet
              living space. FF 91 is targeted to launch within twelve months after
14
              closing of the merger.
15
              Commenting on today’s significant milestones, Faraday Future’s
16
              Global Chief Executive Officer, Dr. Carsten Breitfeld said, “We are
17            excited to enter into this partnership with PSAC. This is an important
              milestone in our company’s transformation, one that we achieved with
18
              strong commitment from our employees, suppliers, and partners in the
19            U.S. and China, as well as the city of Hanford, California. I am excited
              that this business combination will allow us to launch the class defining
20
              FF 91, building upon the founder’s original vision to help our users and
21            shareholders take part in shaping the future of mobility.”
22
              “Faraday Future is a unique and differentiated electric vehicle company
23            with significant growth prospects for the future,” said Property
              Solutions Co-CEO and Chairman Jordan Vogel. “We believe the
24
              excellent management team, led by Dr. Breitfeld, and industry-leading
25            technology will allow Faraday Future to reach its true growth
              potential.”
26

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     1
28       Unless otherwise stated, all emphasis in bold and italics hereinafter is added.

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 1        FF has invested over $2 billion dollars since its inception. In addition to
 2
          the development of its first model FF 91, the product definition of the
          second model FF 81 has been completed, and the R&D work is
 3        progressing.
 4
                                        *     *      *
 5
          FF’s B2C passenger vehicle launch pipeline over the next five years
 6        includes FF 91 series, FF 81 series, and FF 71 series. FF 91 will
 7        define the FF brand DNA. This DNA will carry over to subsequent
          premium mass market vehicles in the portfolio – the FF 81, and FF
 8        71. With such brand DNA, FF products are expected to be ahead of
 9        the competition in their respective segments in terms of their design,
          driving experience, interior comfort, connectivity, and user
10        experience. FF 81 is expected to launch in 2023, and FF 71 in 2024.
11        In addition to passenger vehicles, FF plans to launch a Smart Last
          Mile Delivery (“SLMD”) vehicle in 2023 leveraging its proprietary
12        VPA. To implement a capital light business model, FF has adopted a
13        global hybrid manufacturing strategy consisting of its refurbished
          manufacturing facility in Hanford, California and collaboration with a
14        leading contract manufacturing partner in South Korea. The company is
15        exploring the possibility of additional manufacturing capacity in China
          through a joint venture.
16

17        As the world’s only tech-luxury intelligent Internet electric vehicle
          brand, FF expects to sell more than 400,000 units cumulatively over the
18        next five years, and its first flagship model, the FF 91, has received
19        over 14,000 reservations.
20        28.   On March 19, 2021, the Company published the text of a Q&A session
21 with IPO Edge. Therein, the Company, in relevant part, stated:

22        FF has the most exciting growth opportunity ahead in the EV market.
23        The transaction is expected to fully fund the production of our
          flagship halo vehicle, the luxury electric FF 91, within 12 months of
24        close. The FF 91 is scheduled to launch in 2022, making our market
25        disrupting product a relatively near-term reality. Our technology has
          been tested by the world’s leading experts, who believe we have an
26        edge that can transform the market with unparalleled performance. FF
27        is led by a world-class management team with deep automotive,
          software, and internet experience.
28

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 1         We have existing demand for the FF 91 by way of more than 14,000
 2
           reservations, and a strong strategy to scale in the US and China. The
           strong signal we are seeing from China significantly expands the
 3         opportunity ahead for FF, evidenced by the fact that we have a Tier 1
 4
           city and a top three Chinese OEM participating in the PIPE financing.
           These strategic partners will help establish FF’s presence in the
 5         Chinese market, further solidifying FF’s unique US-China dual home
 6         market strategy.

 7         29.   On April 5, 2021, PSAC filed its Registration Statement on Form S-4
 8 in connection with the merger. In the Registration Statement, the Company stated:

 9         FF intends to commercially launch FF 91 series within twelve months
10         after closing of the Business Combination. Toward that goal, FF has
           completed most of the vehicle development milestones, including 29
11         prototype and 13 pre-production assets. FF 91 series is designed to
12         compete with Maybach, Bentley Bentayga, Lamborghini Urus, Ferrari
           Purosangue, Mercedes S-Class, Porsche Taycan, BMW 7-Series etc.
13
                                     *      *     *
14
           FF has achieved major commercial milestones to bring its FF 91
15         model to the market. Unlike many competitors, FF has the advantage
           of speed to market as it is positioned to launch a production try-out in
16
           9 months and commercial production of FF 91 series within 12
17         months after the Business Combination. FF has completed 29
           prototypes and 13 pre-production assets and has completed most of
18
           the vehicle development hurdles including feasibility, concept and
19         development phases. As of the date hereof, 94% of the key
           components for FF 91 have been sourced, 91% production tooling is
20
           complete and 75% of production equipment is complete.
21
           30.   On June 24, 2021, PSAC filed its Prospectus on From 424(b)(3),
22
     soliciting stockholder approval of the merger with Legacy FF. Therein, the
23
     Company, in relevant part, stated:
24
           FF has achieved major commercial milestones to bring its FF 91
25
           model to the market. Unlike many competitors, FF has the advantage
26         of speed to market as it is positioned to launch a production try-out
           in 9 months and commercial production of FF 91 series within 12
27
           months after the Business Combination.
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  1        31.   On July 21, 2021, Faraday Future announced the closing of the
  2 Business Combination.

  3        32.   On September 19, 2021, Faraday Future published a “Futurist Day
  4 Presentation” titled “Faraday Future Hosts 919 Futurist Day Co-Creation

  5 Celebration and Announces New Business Initiatives as well as Positive Progress on

  6 FF 91 Production and Vehicle Delivery.” Therein, the Company, in relevant part,

  7 stated that “[t]he transaction is expected to fully fund the production of class-

  8 defining performance luxury electric FF 91 within 12 months of transaction close”

  9 and that “Faraday Future’s advanced manufacturing and factory operations teams

 10 have made significant progress with the support of our equipment suppliers in

 11 preparing the Hanford factory for the launch of the FF91.”

 12        33.   The above statements identified in ¶¶ 27-32 were materially false
 13 and/or misleading, and failed to disclose material adverse facts about the Company’s

 14 business, operations, and prospects. Specifically, Defendants failed to disclose to

 15 investors: (1) that the Company had assets in China frozen by courts, (2) that a

 16 significant percentage of its deposits for future deliveries were attributable to a

 17 single undisclosed affiliate; (3) that the Company’s cars were not as close to

 18 production as the Company claimed; (4) that, as a result of previously issued

 19 statements that were misleading and/or inaccurate, Faraday Future could not timely

 20 file its quarterly report; and (5) that, as a result of the foregoing, Defendants’

 21 positive statements about the Company’s business, operations, and prospects were

 22 materially misleading and/or lacked a reasonable basis.

 23        34.   The truth began to emerge on October 7, 2021 when J Capital Research
 24 published a report titled “Move Over Lordstown: There’s a New EV Scam in

 25 Town.” Therein, J Capital Research alleged, among other things, that Faraday

 26 Future was unlikely to ever sell a car, noting that after eight years in business, the

 27 Company has “failed to deliver a car,” “has reneged on promises to build factories

 28 in five localities in the U.S. and China,” “is being sued by dozens of unpaid

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  1 suppliers,” and “has failed to disclose that assets in China have been frozen by

  2 courts.” Moreover, the report alleged that Faraday Future’s claimed 14,000 deposits

  3 are fabricated because 78% of these reservations were made by a single undisclosed

  4 company that is likely an affiliate. The report further alleges that contrary to

  5 representations of progress toward manufacturing made by Faraday Future in

  6 September 2021, former engineering executives did not believe that the car was

  7 ready for production. J Capital Research summarized its findings:

  8        We don't think Faraday Future (FFIE), an EV SPAC, will ever sell a
  9
           car. So far, it's nothing but a bucket to collect money from U.S.
           investors and pour it into the black hole of debt created by its founder,
 10        China's best-known securities fraudster, Jia Yueting.
 11
           After eight years in business, FFIE has failed to deliver a car and is
 12        yet again saying “next year.” The company has reneged on promises
 13        to build factories in five localities in the U.S. and China and
           repeatedly delayed the sixth. FFIE is being sued by dozens of unpaid
 14        suppliers and has failed to disclose that assets in China have been
 15        frozen by courts. And Jia appears to be running the company behind
           the scenes.
 16

 17        Given the current bubble environment, FFIE nevertheless managed to
           raise about $1 bln from U.S. investors via PIPEs and SPAC merger in
 18        July. Now it promises to restart its abandoned factory in Hanford,
 19        California and mass-produce cars in just seven months. We doubt that
           timeline will hold: three recent visits to the factory showed little
 20        activity, and company formers told us there are still engineering
 21        problems to work out.

 22        FFIE is the malformed lovechild of the imperiled Chinese real estate
 23        developer Evergrande (3333 HK) and Jia, China’s fugitive default king.
           We expect Evergrande, which owns 20.5% of this company and stands
 24        to gain more equity, to sell off its shares as soon as the lockup period
 25        ends, in January 2022 if not, quietly, before that.
 26        In January 2021, the company claimed it had 14,000 reservations for
 27        the car—until one week after Hindenburg published its findings that
           Lordstown’s orders were faked. Without explanation, after March 19,
 28        FFIE no longer made reference to the number of reservations. In
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  1        fact, these reservations--78% of which were from a single company—
  2
           had been converted in 2020 to a note payable earning 8% interest.
           The company strongly implies that the mystery booker, who was
  3        apparently ready to spend well over $1 bln on FFIE cars, may be an
  4
           “affiliate.” They fail to say who it was. In H1 2021, despite the
           upcoming SPAC merger, FFIE took in just $144,000 in new customer
  5        deposits.
  6
                                       *     *      *
  7
           On September 20, 2021, the company issued a new presentation
  8        claiming progress toward manufacturing. But former engineering
  9        executives we interviewed did not believe that the car was ready for
           production. FFIE’s contention that it needed just $90 mln to start mass
 10        production in seven months is “not even in the ballpark of true,” said
 11        one formerly highly placed executive. Another former executive said,
           “The story with the SPAC is that they just needed money to
 12        manufacture, but I think there are still some critical engineering
 13        issues.”

 14        Chinese government reports show that in 2016, FFIE’s subsidiary
 15        LeSee put $154 mln into the company’s largest planned manufacturing
           site, in China’s Zhejiang Province, but we visited the location and
 16        found nothing but an overgrown field. The area is so deserted that even
 17        the police station in what was intended to be the Faraday factory park
           has closed.
 18

 19        Jia Yueting, FFIE founder, has been banned for life from being
           associated with publicly listed companies in China. FFIE admits in its
 20        “risks” section that he has “illegally” provided funding and guarantees
 21        to affiliated companies, improperly diverted proceeds from the public
           offering of a company he controlled, and lied to Chinese regulators and
 22        investors. In Hong Kong, where he was chairman of the long-halted
 23        Coolpad Group Limited (2369 HK), he failed to disclose key
           transactions. Holding the title “Partner, Chief Product & User
 24        Ecosystem Officer,” Jia still controls key spending decisions at FFIE
 25        through the FF Global Executive Committee. Because of him, FFIE’s
           USD accounts in China have been frozen by regulators. In a lawsuit
 26        against FFIE, the company’s former General Counsel Hong Liu
 27        claimed that a Jia “clique” controlled the company regardless of legal
           commitments.
 28

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  1        Embarrassed by Jia, FFIE hired a “professional” CEO in September
  2
           2019, but his track record in Chinese EVs is not much better. Carsten
           Breitfeld was co-founder of Nanjing-based Byton, which owed
  3        suppliers and employees millions of dollars when it stopped operating
  4
           in 2020. He conveniently omits from his bio in the prospectus his ill-
           fated tenure as CEO of another Chinese EV hopeful called Iconiq,
  5        which raised over ¥1.2 bln before going silent. He gets tepid reviews
  6        from formers.

  7        In the current overheated EV environment, the company appears to be
  8        having difficulty finding talent In September, FFIE announced new
           executives: one from Lordstown—the company an FFIE former said “is
  9        setting new standards for fraud”--and two from Karma, a moribund
 10        company that the auto news site Jalopnik claims may have faked
           prototypes. One of the Karma graduates is an ex-vice president of A123
 11        Systems, a formerly U.S.-listed Chinese company that has been sued
 12        multiple times for patent infringement and securities fraud.

 13        35.    On this news, the Company’s share price fell $0.35 per share, or more
 14 than 4%, to close at $8.05 per share on October 8, 2021.

 15        36.    On November 2, 2021, Faraday Future announced that McBride was
 16 replacing Glasman as CFO. The Company claimed that “Mr. McBride succeeds Zvi

 17 Glasman, who resigned as CFO of the company to pursue other opportunities” and

 18 that “Mr. Glasman’s departure from the Company is not a result of any

 19 disagreement with the Company’s independent auditors or any member of

 20 management on any matter of accounting principles or practices, financial statement

 21 disclosure, or internal controls.”

 22        37.    The above statements identified in ¶ 36 were materially false and/or
 23 misleading, and failed to disclose material adverse facts about the Company’s

 24 business, operations, and prospects. Specifically, Defendants failed to disclose to

 25 investors: (1) that, as a result of previously issued statements that were misleading

 26 and/or inaccurate, Faraday Future could not timely file its quarterly report; and (2)

 27 that, as a result of the foregoing, Defendants’ positive statements about the

 28

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  1 Company’s business, operations, and prospects were materially misleading and/or

  2 lacked a reasonable basis.

  3                      Disclosures at the End of the Class Period
  4        38.    On November 15, 2021, Faraday Future issued a press release entitled
  5 “Faraday Future Provides Business Update.” Therein, Faraday Future announced

  6 that it would be unable to file its Form 10-Q for the fiscal quarter ended September

  7 30, 2021 on time. Faraday Future further announced that its board of directors

  8 “formed a special committee of independent directors to review allegations of

  9 inaccurate disclosures,” including the claims in the J Capital report. In greater part,

 10 the Company disclosed:

 11        Faraday Future Intelligent Electric Inc. (“Faraday Future” or the
 12
           “Company”) (NASDAQ: FFIE), a California-based global shared
           intelligent electric mobility ecosystem company, filed a Form 12b-25
 13        notifying the SEC that it is unable to file its Form 10-Q for the fiscal
 14
           quarter ended September 30, 2021 within the prescribed time period,
           and does not expect to file it by the extended filing date pursuant to
 15        Rule 12b-25. The Company is also unable to file its amended
 16        Registration Statement on Form S-1 (File No. 333-258993) (the “Form
           S-1/A”) at this time.
 17

 18        The Company’s Board of Directors formed a special committee of
           independent directors to review allegations of inaccurate disclosures,
 19        including claims made in a report issued by an investor with a history
 20        of seeking to drive down public companies’ stock prices for its own
           benefit. Faraday Future seeks to do business in the most ethical and
 21        transparent way. As a new public company, the Board, as part of its
 22        review, is seeking to ensure that the Company is adhering to the highest
           standards of conduct.
 23

 24        The special committee’s review is ongoing, and it is working diligently
           with independent counsel and advisors to complete its review as soon
 25        as possible. The Company is committed to working with the special
 26        committee to complete its work in order to re-establish timely financial
           reporting as soon as feasible. Until the review is complete, the
 27        Company is not able to file its Form 10-Q or Form S-1/A.
 28

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  1          39.    On this news, the Company’s share price fell $0.28 per share, or
  2 approximately 3%, to close at $8.83 per share on November 16, 2021.

  3                            CLASS ACTION ALLEGATIONS
  4
             40.    Plaintiff brings this action as a class action pursuant to Federal Rule of
  5
      Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and
  6
      entities that purchased or otherwise acquired Faraday Future securities between
  7
      January 28, 2021 and November 15, 2021, inclusive, and who were damaged
  8
      thereby (the “Class”). Excluded from the Class are Defendants, the officers and
  9
      directors of the Company, at all relevant times, members of their immediate families
 10
      and their legal representatives, heirs, successors, or assigns, and any entity in which
 11
      Defendants have or had a controlling interest.
 12
             41.    The members of the Class are so numerous that joinder of all members
 13
      is impracticable. Throughout the Class Period, Faraday Future’s shares actively
 14
      traded on the NASDAQ. While the exact number of Class members is unknown to
 15
      Plaintiff at this time and can only be ascertained through appropriate discovery,
 16
      Plaintiff believes that there are at least hundreds or thousands of members in the
 17
      proposed Class. Millions of Faraday Future shares were traded publicly during the
 18
      Class Period on the NASDAQ. Record owners and other members of the Class may
 19
      be identified from records maintained by Faraday Future or its transfer agent and
 20
      may be notified of the pendency of this action by mail, using the form of notice
 21
      similar to that customarily used in securities class actions.
 22
             42.    Plaintiff’s claims are typical of the claims of the members of the Class
 23
      as all members of the Class are similarly affected by Defendants’ wrongful conduct
 24
      in violation of federal law that is complained of herein.
 25
             43.    Plaintiff will fairly and adequately protect the interests of the members
 26
      of the Class and has retained counsel competent and experienced in class and
 27
      securities litigation.
 28

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  1         44.    Common questions of law and fact exist as to all members of the Class
  2 and predominate over any questions solely affecting individual members of the

  3 Class. Among the questions of law and fact common to the Class are:

  4                (a)   whether the federal securities laws were violated by Defendants’
  5 acts as alleged herein;

  6                (b)   whether statements made by Defendants to the investing public
  7 during the Class Period omitted and/or misrepresented material facts about the

  8 business, operations, and prospects of Faraday Future; and

  9                (c)   to what extent the members of the Class have sustained damages
 10 and the proper measure of damages.

 11         45.    A class action is superior to all other available methods for the fair and
 12 efficient adjudication of this controversy since joinder of all members is

 13 impracticable. Furthermore, as the damages suffered by individual Class members

 14 may be relatively small, the expense and burden of individual litigation makes it

 15 impossible for members of the Class to individually redress the wrongs done to

 16 them. There will be no difficulty in the management of this action as a class action.

 17                           UNDISCLOSED ADVERSE FACTS
 18
            46.    The market for Faraday Future’s securities was open, well-developed
 19
      and efficient at all relevant times. As a result of these materially false and/or
 20
      misleading statements, and/or failures to disclose, Faraday Future’s securities traded
 21
      at artificially inflated prices during the Class Period. Plaintiff and other members of
 22
      the Class purchased or otherwise acquired Faraday Future’s securities relying upon
 23
      the integrity of the market price of the Company’s securities and market information
 24
      relating to Faraday Future, and have been damaged thereby.
 25
            47.    During the Class Period, Defendants materially misled the investing
 26
      public, thereby inflating the price of Faraday Future’s securities, by publicly issuing
 27
      false and/or misleading statements and/or omitting to disclose material facts
 28

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  1 necessary to make Defendants’ statements, as set forth herein, not false and/or

  2 misleading. The statements and omissions were materially false and/or misleading

  3 because they failed to disclose material adverse information and/or misrepresented

  4 the truth about Faraday Future’s business, operations, and prospects as alleged

  5 herein.

  6           48.   At all relevant times, the material misrepresentations and omissions
  7 particularized in this Complaint directly or proximately caused or were a substantial

  8 contributing cause of the damages sustained by Plaintiff and other members of the

  9 Class. As described herein, during the Class Period, Defendants made or caused to

 10 be made a series of materially false and/or misleading statements about Faraday

 11 Future’s financial well-being and prospects. These material misstatements and/or

 12 omissions had the cause and effect of creating in the market an unrealistically

 13 positive assessment of the Company and its financial well-being and prospects, thus

 14 causing the Company’s securities to be overvalued and artificially inflated at all

 15 relevant times. Defendants’ materially false and/or misleading statements during

 16 the Class Period resulted in Plaintiff and other members of the Class purchasing the

 17 Company’s securities at artificially inflated prices, thus causing the damages

 18 complained of herein when the truth was revealed.

 19                                   LOSS CAUSATION
 20
              49.   Defendants’ wrongful conduct, as alleged herein, directly and
 21
      proximately caused the economic loss suffered by Plaintiff and the Class.
 22
              50.   During the Class Period, Plaintiff and the Class purchased Faraday
 23
      Future’s securities at artificially inflated prices and were damaged thereby. The
 24
      price    of   the   Company’s    securities   significantly   declined   when   the
 25
      misrepresentations made to the market, and/or the information alleged herein to
 26
      have been concealed from the market, and/or the effects thereof, were revealed,
 27
      causing investors’ losses.
 28

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  1                             SCIENTER ALLEGATIONS
  2
             51.   As alleged herein, Defendants acted with scienter since Defendants
  3
      knew that the public documents and statements issued or disseminated in the name
  4
      of the Company were materially false and/or misleading; knew that such statements
  5
      or documents would be issued or disseminated to the investing public; and
  6
      knowingly and substantially participated or acquiesced in the issuance or
  7
      dissemination of such statements or documents as primary violations of the federal
  8
      securities laws. As set forth elsewhere herein in detail, the Individual Defendants,
  9
      by virtue of their receipt of information reflecting the true facts regarding Faraday
 10
      Future, their control over, and/or receipt and/or modification of Faraday Future’s
 11
      allegedly materially misleading misstatements and/or their associations with the
 12
      Company which made them privy to confidential proprietary information
 13
      concerning Faraday Future, participated in the fraudulent scheme alleged herein.
 14
                   APPLICABILITY OF PRESUMPTION OF RELIANCE
 15                    (FRAUD-ON-THE-MARKET DOCTRINE)
 16          52.   The market for Faraday Future’s securities was open, well-developed
 17 and efficient at all relevant times.     As a result of the materially false and/or
 18 misleading statements and/or failures to disclose, Faraday Future’s securities traded

 19 at artificially inflated prices during the Class Period.   On February 1, 2021, the
 20 Company’s share price closed at a Class Period high of $19.16 per share. Plaintiff

 21 and other members of the Class purchased or otherwise acquired the Company’s

 22 securities relying upon the integrity of the market price of Faraday Future’s

 23 securities and market information relating to Faraday Future, and have been

 24 damaged thereby.

 25          53.   During the Class Period, the artificial inflation of Faraday Future’s
 26 shares     was caused by the material misrepresentations and/or omissions
 27 particularized in this Complaint causing the damages sustained by Plaintiff and

 28 other members of the Class.         As described herein, during the Class Period,

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  1 Defendants made or caused to be made a series of materially false and/or misleading

  2 statements about Faraday Future’s business, prospects, and operations.            These
  3 material misstatements and/or omissions created an unrealistically positive

  4 assessment of Faraday Future and its business, operations, and prospects, thus

  5 causing the price of the Company’s securities to be artificially inflated at all relevant

  6 times, and when disclosed, negatively affected the value of the Company shares.

  7 Defendants’ materially false and/or misleading statements during the Class Period

  8 resulted in Plaintiff and other members of the Class purchasing the Company’s

  9 securities at such artificially inflated prices, and each of them has been damaged as a

 10 result.

 11           54.   At all relevant times, the market for Faraday Future’s securities was an
 12 efficient market for the following reasons, among others:

 13                 (a)   Faraday Future shares met the requirements for listing, and was
 14 listed and actively traded on the NASDAQ, a highly efficient and automated market;

 15                 (b)   As a regulated issuer, Faraday Future filed periodic public
 16 reports with the SEC and/or the NASDAQ;

 17                 (c)   Faraday Future regularly communicated with public investors via
 18 established     market communication mechanisms, including through regular
 19 dissemination of press releases on the national circuits of major newswire services

 20 and through other wide-ranging public disclosures, such as communications with the

 21 financial press and other similar reporting services; and/or

 22                 (d)   Faraday Future was followed by securities analysts employed by
 23 brokerage firms who wrote reports about the Company, and these reports were

 24 distributed to the sales force and certain customers of their respective brokerage

 25 firms.      Each of these reports was publicly available and entered the public
 26 marketplace.

 27           55.   As a result of the foregoing, the market for Faraday Future’s securities
 28 promptly digested current information regarding Faraday Future from all publicly

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  1 available sources and reflected such information in Faraday Future’s share price.

  2 Under these circumstances, all purchasers of Faraday Future’s securities during the

  3 Class Period suffered similar injury through their purchase of Faraday Future’s

  4 securities at artificially inflated prices and a presumption of reliance applies.

  5         56.    A Class-wide presumption of reliance is also appropriate in this action
  6 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United

  7 States, 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded

  8 on Defendants’ material misstatements and/or omissions.            Because this action
  9 involves Defendants’ failure to disclose material adverse information regarding the

 10 Company’s       business operations and financial prospects—information that
 11 Defendants were obligated to disclose—positive proof of reliance is not a

 12 prerequisite to recovery. All that is necessary is that the facts withheld be material

 13 in the sense that a reasonable investor might have considered them important in

 14 making investment decisions. Given the importance of the Class Period material

 15 misstatements and omissions set forth above, that requirement is satisfied here.

 16                                   NO SAFE HARBOR
 17
            57.    The statutory safe harbor provided for forward-looking statements
 18
      under certain circumstances does not apply to any of the allegedly false statements
 19
      pleaded in this Complaint. The statements alleged to be false and misleading herein
 20
      all relate to then-existing facts and conditions. In addition, to the extent certain of
 21
      the statements alleged to be false may be characterized as forward looking, they
 22
      were not identified as “forward-looking statements” when made and there were no
 23
      meaningful cautionary statements identifying important factors that could cause
 24
      actual results to differ materially from those in the purportedly forward-looking
 25
      statements. In the alternative, to the extent that the statutory safe harbor is
 26
      determined to apply to any forward-looking statements pleaded herein, Defendants
 27
      are liable for those false forward-looking statements because at the time each of
 28

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  1 those forward-looking statements was made, the speaker had actual knowledge that

  2 the forward-looking statement was materially false or misleading, and/or the

  3 forward-looking statement was authorized or approved by an executive officer of

  4 Faraday Future who knew that the statement was false when made.

  5                                    FIRST CLAIM
                    Violation of Section 10(b) of The Exchange Act and
  6                        Rule 10b-5 Promulgated Thereunder
                                  Against All Defendants
  7

  8        58.    Plaintiff repeats and re-alleges each and every allegation contained
  9 above as if fully set forth herein.

 10        59.    During the Class Period, Defendants carried out a plan, scheme and
 11 course of conduct which was intended to and, throughout the Class Period, did: (i)

 12 deceive the investing public, including Plaintiff and other Class members, as alleged

 13 herein; and (ii) cause Plaintiff and other members of the Class to purchase Faraday

 14 Future’s securities at artificially inflated prices.   In furtherance of this unlawful
 15 scheme, plan and course of conduct, Defendants, and each defendant, took the

 16 actions set forth herein.

 17        60.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii)
 18 made untrue statements of material fact and/or omitted to state material facts

 19 necessary to make the statements not misleading; and (iii) engaged in acts, practices,

 20 and a course of business which operated as a fraud and deceit upon the purchasers of

 21 the Company’s securities in an effort to maintain artificially high market prices for

 22 Faraday Future’s securities in violation of Section 10(b) of the Exchange Act and

 23 Rule 10b-5. All Defendants are sued either as primary participants in the wrongful

 24 and illegal conduct charged herein or as controlling persons as alleged below.

 25        61.    Defendants, individually and in concert, directly and indirectly, by the
 26 use, means or instrumentalities of interstate commerce and/or of the mails, engaged

 27 and participated in a continuous course of conduct to conceal adverse material

 28

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  1 information about Faraday Future’s financial well-being and prospects, as specified

  2 herein.

  3        62.    Defendants employed devices, schemes and artifices to defraud, while
  4 in possession of material adverse non-public information and engaged in acts,

  5 practices, and a course of conduct as alleged herein in an effort to assure investors of

  6 Faraday Future’s value and performance and continued substantial growth, which

  7 included the making of, or the participation in the making of, untrue statements of

  8 material facts and/or omitting to state material facts necessary in order to make the

  9 statements made about Faraday Future and its business operations and future

 10 prospects in light of the circumstances under which they were made, not misleading,

 11 as set forth more particularly herein, and engaged in transactions, practices and a

 12 course of business which operated as a fraud and deceit upon the purchasers of the

 13 Company’s securities during the Class Period.

 14        63.    Each of the Individual Defendants’ primary liability and controlling
 15 person liability arises from the following facts: (i) the Individual Defendants were

 16 high-level executives and/or directors at the Company during the Class Period and

 17 members of the Company’s management team or had control thereof; (ii) each of

 18 these defendants, by virtue of their responsibilities and activities as a senior officer

 19 and/or director of the Company, was privy to and participated in the creation,

 20 development and reporting of the Company’s internal budgets, plans, projections

 21 and/or reports; (iii) each of these defendants enjoyed significant personal contact

 22 and familiarity with the other defendants and was advised of, and had access to,

 23 other members of the Company’s management team, internal reports and other data

 24 and information about the Company’s finances, operations, and sales at all relevant

 25 times; and (iv) each of these defendants was aware of the Company’s dissemination

 26 of information to the investing public which they knew and/or recklessly

 27 disregarded was materially false and misleading.

 28

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  1        64.    Defendants had actual knowledge of the misrepresentations and/or
  2 omissions of material facts set forth herein, or acted with reckless disregard for the

  3 truth in that they failed to ascertain and to disclose such facts, even though such

  4 facts were available to them. Such defendants’ material misrepresentations and/or

  5 omissions were done knowingly or recklessly and for the purpose and effect of

  6 concealing Faraday Future’s financial well-being and prospects from the investing

  7 public and supporting the artificially inflated price of its securities. As demonstrated

  8 by Defendants’ overstatements and/or misstatements of the Company’s business,

  9 operations, financial well-being, and prospects throughout the Class Period,

 10 Defendants, if they did not have actual knowledge of the misrepresentations and/or

 11 omissions alleged, were reckless in failing to obtain such knowledge by deliberately

 12 refraining from taking those steps necessary to discover whether those statements

 13 were false or misleading.

 14        65.    As a result of the dissemination of the materially false and/or
 15 misleading information and/or failure to disclose material facts, as set forth above,

 16 the market price of Faraday Future’s securities was artificially inflated during the

 17 Class Period.     In ignorance of the fact that market prices of the Company’s
 18 securities were artificially inflated, and relying directly or indirectly on the false and

 19 misleading statements made by Defendants, or upon the integrity of the market in

 20 which the securities trades, and/or in the absence of material adverse information

 21 that was known to or recklessly disregarded by Defendants, but not disclosed in

 22 public statements by Defendants during the Class Period, Plaintiff and the other

 23 members of the Class acquired Faraday Future’s securities during the Class Period

 24 at artificially high prices and were damaged thereby.

 25        66.    At the time of said misrepresentations and/or omissions, Plaintiff and
 26 other members of the Class were ignorant of their falsity, and believed them to be

 27 true. Had Plaintiff and the other members of the Class and the marketplace known

 28 the truth regarding the problems that Faraday Future was experiencing, which were

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  1 not disclosed by Defendants, Plaintiff and other members of the Class would not

  2 have purchased or otherwise acquired their Faraday Future securities, or, if they had

  3 acquired such securities during the Class Period, they would not have done so at the

  4 artificially inflated prices which they paid.

  5         67.    By virtue of the foregoing, Defendants violated Section 10(b) of the
  6 Exchange Act and Rule 10b-5 promulgated thereunder.

  7         68.    As a direct and proximate result of Defendants’ wrongful conduct,
  8 Plaintiff and the other members of the Class suffered damages in connection with

  9 their respective purchases and sales of the Company’s securities during the Class

 10 Period.

 11                                   SECOND CLAIM
                        Violation of Section 20(a) of The Exchange Act
 12                           Against the Individual Defendants
 13
            69.    Plaintiff repeats and re-alleges each and every allegation contained
 14
      above as if fully set forth herein.
 15
            70.    Individual Defendants acted as controlling persons of Faraday Future
 16
      within the meaning of Section 20(a) of the Exchange Act as alleged herein. By
 17
      virtue of their high-level positions and their ownership and contractual rights,
 18
      participation in, and/or awareness of the Company’s operations and intimate
 19
      knowledge of the false financial statements filed by the Company with the SEC and
 20
      disseminated to the investing public, Individual Defendants had the power to
 21
      influence and control and did influence and control, directly or indirectly, the
 22
      decision-making of the Company, including the content and dissemination of the
 23
      various statements which Plaintiff contends are false and misleading. Individual
 24
      Defendants were provided with or had unlimited access to copies of the Company’s
 25
      reports, press releases, public filings, and other statements alleged by Plaintiff to be
 26
      misleading prior to and/or shortly after these statements were issued and had the
 27

 28

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  1 ability to prevent the issuance of the statements or cause the statements to be

  2 corrected.

  3         71.    In particular, Individual Defendants had direct and supervisory
  4 involvement in the day-to-day operations of the Company and, therefore, had the

  5 power to control or influence the particular transactions giving rise to the securities

  6 violations as alleged herein, and exercised the same.

  7         72.    As set forth above, Faraday Future and Individual Defendants each
  8 violated Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this

  9 Complaint. By virtue of their position as controlling persons, Individual Defendants

 10 are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

 11 result of Defendants’ wrongful conduct, Plaintiff and other members of the Class

 12 suffered damages in connection with their purchases of the Company’s securities

 13 during the Class Period.

 14                                  PRAYER FOR RELIEF
 15
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 16
            (a)    Determining that this action is a proper class action under Rule 23 of
 17
      the Federal Rules of Civil Procedure;
 18
            (b)    Awarding compensatory damages in favor of Plaintiff and the other
 19
      Class members against all defendants, jointly and severally, for all damages
 20
      sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,
 21
      including interest thereon;
 22
            (c)    Awarding Plaintiff and the Class their reasonable costs and expenses
 23
      incurred in this action, including counsel fees and expert fees; and
 24
            (d)    Such other and further relief as the Court may deem just and proper.
 25
                                    JURY TRIAL DEMANDED
 26

 27         Plaintiff hereby demands a trial by jury.

 28

                                               24
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  1 DATED: December 23, 2021          GLANCY PRONGAY & MURRAY LLP
  2
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        Jian Zhou's Transactions in Faraday Future Intelligent Electric Inc. (FFIE)
          Date          Transaction Type          Quantity                Unit Price
       1/28/2021              Bought                 1,000                 $16.6090
       1/28/2021              Bought                  500                  $15.6500
       1/28/2021              Bought                  500                  $15.9000
       1/28/2021              Bought                 1,000                 $16.6700
       1/29/2021              Bought                 1,000                 $23.6900
       2/5/2021               Bought                  57                   $17.5000
       2/9/2021                Sold                  -457                  $16.6366
       2/9/2021                Sold                  -500                  $16.6400
       2/9/2021                Sold                  -100                  $16.6700
       2/10/2021               Sold                 -1,000                 $16.4380
       2/11/2021               Sold                 -1,500                 $16.0252
       2/16/2021              Bought                  175                  $16.6600
       2/16/2021              Bought                 1,000                 $16.8988
       2/17/2021              Bought                  70                   $18.1100
       2/17/2021              Bought                  129                  $17.5500
       2/17/2021              Bought                 1,000                 $18.1000
       2/18/2021               Sold                  -874                  $17.4900
       2/19/2021              Bought                  500                  $17.3000
       2/22/2021              Bought                  500                  $18.3500
       2/23/2021               Sold                 -2,000                 $16.7900
       2/23/2021              Bought                  500                  $16.5400
       2/24/2021              Bought                 1,000                 $15.7300
       2/26/2021               Sold                  -500                  $13.9900
       2/26/2021              Bought                  500                  $13.9800
       3/11/2021              Bought                  500                  $12.6400
       7/20/2021              Bought                  500                  $13.8000
       7/22/2021               Sold                 -1,000                 $13.6300
       7/22/2021               Sold                  -500                  $16.7000
       7/22/2021              Bought                  500                  $17.8100
       7/22/2021              Bought                  500                  $13.8688
